             ^niteb States; ©isitrict Court
                                            FOR THE
                      NORTHERN DISTRICT OF CALIFORNIA


                          VENUE: SAN FRANCISCO                                    Jtji^


                               UNITED STATES OF AMERICA,                          °'SrRicT JSlpOUfJT



                                    6i 18 0267
                               RICHARD LEE FARMER, JR.,




                                    DEFENDANT(S).


                                   INDICTMENT

                   18 U.S.C. § 2252(a)(4)(B) - Possession of Child Pornography;
                    18 U.S.C. § 2252(a)(2) - Distribution of Child Pornography:
                               18 U.S.C. § 2253 - Criminal Forfeiture




V.              A true bill.

                                /KAA
                                                                   Foreman
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^               Filed in open court this,            _day of

                                                                      Clerk

              SALLiE KIM                                        ROBfilinNARRANT
     United States Magistrate Judge                Bail, $
